                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


DR. MONICA A. PRICE,                           )
                                               )
                    Plaintiff,                 )
                                               )
                    v.                         )             1:23cv1102
                                               )
DURHAM PUBLIC SCHOOLS,                         )
                                               )
                    Defendant.                 )


              MEMORANDUM OPINION, ORDER, AND RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE

       This    case      comes    before    the     undersigned        United    States

Magistrate Judge for a recommendation on the “Motion to Dismiss

Complaint” (Docket Entry 9)1 (the “Dismissal Motion”) filed by

Durham Public Schools (the “Defendant”).                     For the reasons that

follow,    the     Court    (i)   should    deny    the   Dismissal       Motion     and

(ii) will deem the “Complaint for a Civil Case” (Docket Entry 1)

(the   “Complaint”)        amended   to     include    the    allegations       in    the

response      to   the     Dismissal       Motion     (Docket    Entry     14)       (the

“Response”).

                                     BACKGROUND

       Alleging violations of “Title VII of the Civil Rights Act of

1964” (“Title VII”), the “Age Discrimination in Employment Act of

1967” (the “ADEA”), and “The Civil Rights Act of 1991” (Docket




     1 For legibility reasons, this Opinion omits bold, all-cap,
and underscored font in all quotations from the parties’ materials.




  Case 1:23-cv-01102-LCB-LPA         Document 18      Filed 02/18/25    Page 1 of 19
Entry 1 at 3),2 Dr. Monica A. Price (the “Plaintiff” or “Dr.

Price”) sued Defendant, her former employer.           (See id. at 1-6.)

According to the Complaint:

          [Plaintiff] began working for [Defendant] on or
     about September 16, 2022, as a Student Success Coach and
     Testing Coordinator. Student Success Coach and Testing
     Coordinator is the most recent position [Plaintiff] held.

          For the duration of [her] employment, [Plaintiff]
     feel[s] as though [she] ha[s] been treated less favorably
     and subjected to different terms and conditions of
     employment because o[f her] race, Black, and [her] age
     (54). In or around October, November, and December 2022,
     [Plaintiff] made several complaints to Human Resources
     about the discriminatory treatment toward [Plaintiff].
     In or around January, February, March, and May of 2023,
     [Plaintiff]   made   additional   complaints   to   Human
     Resources.     [Plaintiff] do[es] not believe [her]
     allegations have been investigated and [Plaintiff] was
     continually being treated differently. On or about April
     24, 2023, [Plaintiff] received a negative review.
     [Plaintiff] believe[s she] was reviewed negatively in
     retaliation for [her] aforementioned complaints regarding
     discrimination. In or around June 2023, [Plaintiff’s]
     contract was not renewed.      [Plaintiff] appealed the
     decision to not renew [her] contract through the Durham
     County School Board and the decision was upheld.
     [Plaintiff] believe[s her] contract was not renewed
     because of [her] aforementioned complaints, as well as
     [her] age and race.

(Id. at 6.)   The Complaint further asserts:

          The wrongs against . . . Plaintiff[] are continuing
     until this date being that [Plaintiff] continue[s] to
     have to report to other educational entities that [her]
     contract was non-renewed due to [Plaintiff] being accused
     of being a non-diversity friendly employee. [Plaintiff]
     was recommended for several positions, but at the point
     that [a] reference was requested from [Defendant], the
     employment opportunity was denied. The actual damages on


     2 Docket Entry page citations utilize the CM/ECF footer’s
pagination.

                                   2




  Case 1:23-cv-01102-LCB-LPA   Document 18   Filed 02/18/25   Page 2 of 19
     [Plaintiff’s] personal property, pain and suffering,
     reputation,   [sic]  are   still   being  accrued   and
     [Plaintiff’s] personal property loss is still of issue.

(Id. at 4.)

     Defendant moved to dismiss the Complaint “pursuant to Rule

12(b) of the Federal Rules of Civil Procedure” (the “Rules”).

(Docket Entry 9 at 1.)       Per the Dismissal Motion, “Plaintiff has

failed to exhaust her administrative remedies and has failed to

state any claims upon which relief may be granted.               As a result,

Plaintiff’s claims should be dismissed pursuant to Rule 12(b)(6).”

(Id.)   Notably, ignoring the Complaint’s assertions regarding

retaliation   and   violation     of   the   Civil   Rights     Act    of    1991

(see Docket Entry 1 at 3-4, 6), Defendant’s memorandum in support

of the Dismissal Motion maintains that “Plaintiff’s Complaint

attempts to allege two claims (1) race discrimination in violation

of Title VII and (2) age in discrimination in violation of the

[ADEA]” (Docket Entry 10 at 1).        Defendant accordingly limits its

dismissal   arguments   to     Plaintiff’s    claims   for      race   and    age

discrimination under Title VII and the ADEA. (See, e.g., id. at 4-

7 (arguing for dismissal of Plaintiff’s VII and ADEA discrimination

claims).)

     Less than twenty-one days after Defendant filed the Dismissal

Motion, Plaintiff filed the Response.         (Compare Docket Entry 9 at

2, with Docket Entry 14 at 1.)         Addressing the challenged claims,

the Response provides significant factual detail in support of


                                       3




  Case 1:23-cv-01102-LCB-LPA    Document 18    Filed 02/18/25    Page 3 of 19
Plaintiff’s ADEA and Title VII discrimination claims.             (See Docket

Entry 14 at 1-7.)    For instance, the Response explains “that the

prejudicial   behavior    of   [Plaintiff’s]    principal       Mrs.   Crystal

Medlin[] interfered with [Plaintiff’s] work and ultimately led to

her dismissal” from her remote position at Ignite Online Academy

notwithstanding that Plaintiff “is an expert on the digital divide

and online learning.” (Id. at 3.) According to the Response, Mrs.

Medlin,   inter   alia,   docked    Plaintiff’s      pay    and   “presented

information to Human Resources to support [Mrs. Medlin’s] efforts

to remove Dr. Price from her job,” an act “in congruence with what

is believed to be Mrs. Medlin’s overall desire to replace Dr. Price

with a Caucasian, female colleague” (id.; see also id. at 5

(discussing said colleague)).        (See id. at 3-4.)          The Response

further asserts that “a warning letter was placed in Dr. Price’s

personnel file” (id. at 3) and that Plaintiff remained subject to

an “incorrect performance rubric” that “did not seem to correspond

with Dr. Price’s duties as Student Success Coach and Testing

Coordinator” (id. at 4).

      Moreover, per the Response, “[s]hortly after Dr. Price had to

go to DPS Human Resource for help, Mrs. Medlin began to get Dr.

Price’s African American colleagues to take over her work without

her knowing[,] interfering with testing reporting duties.” (Id. at

5.)   The Response additionally identifies as “just a few of the

specific examples of the prejudicial and inappropriate behavior by


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  Case 1:23-cv-01102-LCB-LPA    Document 18    Filed 02/18/25   Page 4 of 19
Mrs. Medlin” (id. at 4) the following allegations related to

Plaintiff’s age and race discrimination claims:

          There are multiple, documented occasions where Dr.
     Price’s actions were reprimanded, and her Caucasian
     colleagues’ same actions were allowed and praised.
     Specifically, her Caucasian colleagues were allowed to
     conduct surveys to receive feedback, but when Dr. Price
     did the same, she was strongly reprimanded by Mrs.
     Medlin.

          Mrs. Medlin asked Dr. Price to present in a faculty
     learning community meeting and in the middle of the
     meeting, she told Dr. Price that she would not be using
     her data, would be taking over the meeting, and would be
     using the data of the Caucasian counterpart instead.
     However, Mrs. Medlin did not know that the data was
     practically identical except for a different color scheme
     change for organization and updates. Mrs. Medlin said in
     front of the group that Dr. Price’s presentation was
     “colorful” but the Caucasian colleague’s information was
     the one that she would use as correct.

          *****

          Mrs. Medlin stated that one of Dr. Price’s Caucasian
     colleagues had done a great job with assisting with
     testing when Dr. Price had to be away on an occasion.
     She stated that the colleague had just had a baby and
     insinuated that the position would be good for her to
     work from home in the presence of Dr. Price.

          Dr. Price is not of the traditional child-bearing
     age, so Mrs. Medlin valued the colleague’s age and
     childcare needs more than the need to have the
     flexibility to take care of Dr. Price’s elderly parents.

          Dr. Price believes that skin color allowed Mrs.
     Medlin to identify who should be prioritized. She valued
     higher the needs of the Caucasian colleague to have Dr.
     Price’s job. She has prejudicial beliefs that Dr. Price
     should not be in leadership, that Dr. Price’s supposed
     inferiority would be the blame if things went wrong, and
     that Dr. Price should do as she was told even if it was
     untruthful.

(Id. at 4-5 (internal paragraph lettering omitted).)

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  Case 1:23-cv-01102-LCB-LPA   Document 18   Filed 02/18/25   Page 5 of 19
     In reply, Defendant maintains that Plaintiff’s claims remain

subject    to   dismissal   for    failure      to   exhaust      administrative

remedies.    (See Docket Entry 15 (the “Reply”) at 1-2.)               The Reply

further asserts that “[t]he additional factual allegations raised

for the first time in Plaintiff’s Response still do not state a

colorable claim under Title VII or the ADEA.”                      (Id. at 2.)

Defendant thus urges the Court to grant the Dismissal Motion. (See

id. at 3.)

                                  DISCUSSION

     I. Relevant Standards

     A. Rule 12(b)(6)

     A Rule 12(b)(6) motion “tests the sufficiency of a complaint,”

but “does not resolve contests surrounding the facts, the merits of

a claim, or the applicability of defenses.”             Republican Party of

N.C. v. Martin, 980 F.2d 943, 952 (4th Cir. 1992) (emphasis

added).3     Accordingly, in reviewing a Rule 12(b)(6) motion, the

Court must “accept the facts alleged in the complaint as true and

construe them in the light most favorable to the plaintiff.”

Coleman v. Maryland Ct. of App., 626 F.3d 187, 189 (4th Cir. 2010),

aff’d sub nom., Coleman v. Court of App. of Md., 566 U.S. 30

(2012).     The Court must also “draw all reasonable inferences in

favor of the plaintiff.”       E.I. du Pont de Nemours & Co. v. Kolon


     3 As such, “claims lacking merit may be dealt with through
summary judgment under Rule 56” rather than through a Rule 12(b)(6)
motion. Swierkiewicz v. Sorema N. A., 534 U.S. 506, 514 (2002).

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  Case 1:23-cv-01102-LCB-LPA      Document 18    Filed 02/18/25    Page 6 of 19
Indus., Inc., 637 F.3d 435, 440 (4th Cir. 2011) (internal quotation

marks omitted).   Moreover, a pro se complaint must “be liberally

construed” and “held to less stringent standards than formal

pleadings drafted by lawyers.” Erickson v. Pardus, 551 U.S. 89, 94

(2007) (internal quotation marks omitted). Nevertheless, the Court

“will not accept legal conclusions couched as facts or unwarranted

inferences, unreasonable conclusions, or arguments.” United States

ex rel. Nathan v. Takeda Pharms. N. Am., Inc., 707 F.3d 451, 455

(4th Cir. 2013) (internal quotation marks omitted); see also

Giarratano v. Johnson, 521 F.3d 298, 304 n.5 (4th Cir. 2008)

(explaining that the United States Court of Appeals for the Fourth

Circuit has “not read Erickson to undermine [the] requirement that

a pleading contain more than labels and conclusions” (internal

quotation marks omitted)). The Court can also “put aside any naked

assertions devoid of further factual enhancement.”             SD3, LLC v.

Black & Decker (U.S.) Inc., 801 F.3d 412, 422 (4th Cir. 2015), as

amended on reh’g in part (Oct. 29, 2015) (internal quotation marks

omitted).

     To avoid Rule 12(b)(6) dismissal, a complaint must contain

sufficient factual allegations “to ‘state a claim to relief that is

plausible on its face.’”       Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). To qualify as plausible, a claim needs sufficient factual

content to support a reasonable inference of the defendant’s


                                   7




  Case 1:23-cv-01102-LCB-LPA   Document 18   Filed 02/18/25   Page 7 of 19
liability for the alleged misconduct.                 See id.      The complaint need

not contain detailed factual recitations, but must provide the

defendant “fair notice of what the claim is and the grounds upon

which it rests.”          Twombly, 550 U.S. at 555 (internal quotation

marks and ellipsis omitted).                  Thus, although a plaintiff must

allege sufficient facts “to state all the elements of her claim,”

Bass v. E.I. DuPont de Nemours & Co., 324 F.3d 761, 765 (4th Cir.

2003), she need not plead facts constituting a McDonnell Douglas

prima facie case of discrimination to survive a motion to dismiss,

see Swierkiewicz v. Sorema N. A., 534 U.S. 506, 514-15 (2002)

(analyzing Title VII and ADEA claims).

       B. Title VII Standards

       Under    Title     VII,   it    constitutes        “an    unlawful      employment

practice       for   an   employer,”       inter      alia,      “to       discharge   any

individual, or otherwise to discriminate against any individual

with     respect     to    h[er]      compensation,         terms,     conditions,         or

privileges of employment, because of such individual’s race.”                              42

U.S.C.    §    2000e-2(a)(1).4          For       Title   VII    purposes,      liability

attaches if “race . . . was a motivating factor” for the challenged

“employment practice, even though other factors also motivated the

practice.”       42 U.S.C. § 2000e-2(m); see also Kortor v. Forest at

Duke, No. 1:23cv834, 2024 WL 4367185, at *4 (M.D.N.C. Sept. 30,


     4 Title VII “also prohibits retaliation against persons who
assert rights under [Title VII].” Fort Bend Cnty. v. Davis, 587
U.S. 541, 543 (2019).

                                              8




  Case 1:23-cv-01102-LCB-LPA           Document 18        Filed 02/18/25    Page 8 of 19
2024)   (“An     employer     will   be   held     liable    for     racial     .   .   .

discrimination if ‘a protected characteristic [is] a “motivating

factor”   in     an   employment     decision.’”      (brackets       in     original)

(quoting E.E.O.C. v. Abercrombie & Fitch Stores, Inc., 575 U.S.

768,    773     (2015))).       Accordingly,        to      state    a     Title    VII

discrimination claim, a “plaintiff must allege facts sufficient to

raise a plausible inference that h[er] employer discharged [or

otherwise treated her adversely in the terms or conditions of

employment] because of h[er] race,” Holloway v. Maryland, 32 F.4th

293, 299 (4th Cir. 2022) (analyzing Title VII unlawful discharge

claim).       See, e.g., Rageh v. University of N.C., No. 1:24cv336,

2024 WL 5056448, at *4 (M.D.N.C. Dec. 10, 2024) (analyzing Title

VII discrimination claim and concluding that plaintiff “alleged

sufficient       facts   to     state     a   Title      VII    national        origin

discrimination claim to the extent that he bases his claim on

denial of training opportunities”).

       C. ADEA Standards

       The ADEA makes it “unlawful for an employer . . . to discharge

any individual or otherwise discriminate against any individual

. . . because of such individual’s age.”              29 U.S.C. § 623(a).           For

an “age discrimination claim, [a plaintiff] must allege facts

plausibly supporting the inference that (1) [s]he was ‘over the age

of 40,’ (2) [s]he ‘experienced discrimination by an employer,’ and

(3) the discrimination was ‘because of h[er] age.’” Rageh, 2024 WL


                                          9




  Case 1:23-cv-01102-LCB-LPA         Document 18    Filed 02/18/25       Page 9 of 19
5056448, at *2 (quoting Tickles v. Johnson, 805 F. App’x 204, 207

(4th Cir. 2020)).     Moreover:

      Age must be the but-for cause of an adverse employment
      action, Palmer v. Liberty Univ., Inc., 72 F.4th 52, 67
      (4th Cir. 2023), but a plaintiff “need not establish
      but-for causation to survive a motion to dismiss.”
      Lattinville-Pace v. Intelligent Waves LLC, No. 22-1144,
      2024 WL 1756167, at *1 (4th Cir. Apr. 24, 2024). “[A]
      plaintiff need only plead sufficient facts to plausibly
      support a claim of discrimination.” Id.

           The adverse employment action does not need to be
      significant. Muldrow v. City of St. Louis, 601 U.S. 346,
      355 (2024). Rather, a plaintiff need only allege “some
      injury respecting her employment terms or conditions.”
      Id. at 359 (stating employee’s allegations that she was
      transferred and given fewer responsibilities would
      constitute an adverse employment action even though her
      rank and pay remained the same); see also Grant v. N.C.
      Dep’t of Transp., No. 23-CV-702, 2024 WL 2789388, at *3
      (E.D.N.C. May 30, 2024) (applying Muldrow to an ADEA
      claim).

Rageh, 2024 WL 5056448, at *2-3.

      II. Analysis

      A. Amendment

      As an initial matter, Plaintiff filed the Response, which

contains additional factual information regarding her Title VII and

ADEA discrimination claims (see Docket Entry 14 at 1-7), less than

twenty-one days after Defendant moved to dismiss those claims for

lack of supporting factual allegations (see Docket Entry 10 at 5-

7).   (Compare Docket Entry 9 at 2, with Docket Entry 14 at 1.)

Pursuant to Rule 15, “[a] party may amend its pleading once as a

matter of course no later than,” as relevant here, “21 days after

service   of   a   motion   under   Rule   12(b).”      Fed.    R.   Civ.      P.

                                     10




  Case 1:23-cv-01102-LCB-LPA   Document 18    Filed 02/18/25   Page 10 of 19
15(a)(1)(B). Given that Plaintiff (i) possessed the right to amend

her pleadings at the time she filed the Response and (ii) proceeds

pro se, the Court will deem the Complaint amended to include the

factual allegations in the Response.

     Amending a complaint “normally moots a pending motion to

dismiss.”   Flanagan v. Syngenta Crop Prot., LLC, No. 1:17cv202,

2017 WL 3328168, at *2 (M.D.N.C. Aug. 3, 2017).                 Here, however,

Defendant addressed the Response in its Reply, arguing that the

facts set out in the Response do not impact resolution of the

Dismissal Motion.        (See Docket Entry 15 at 2.)               “Under the

circumstances, the Court will ‘consider the Dismissal Motion as

being   addressed   to   the   [Complaint     as   deemed   amended     by   the

Response].’”   Flanagan, 2017 WL 3328168, at *2 (brackets omitted)

(quoting 6 Charles Alan Wright, et al., Federal Practice and

Procedure § 1476 (3d ed. 2017)); see also Brumfield v. McCann, No.

2:12cv1481, 2013 WL 943807, at *2-3 (S.D. W. Va. Mar. 11, 2013)

(granting motion to amend complaint, but concluding that court

could still consider pending dismissal motions, and collecting

cases).

     B. Administrative Exhaustion

     Turning to the Dismissal Motion, Defendant asserts that the

Court should dismiss Plaintiff’s Title VII and ADEA discrimination




                                    11




  Case 1:23-cv-01102-LCB-LPA    Document 18    Filed 02/18/25    Page 11 of 19
claims for lack of administrative exhaustion.            (See, e.g., Docket

Entry 10 at 5.)5       This argument misses the mark.

       “As a precondition to the commencement of a Title VII action

in court, a complainant must first file a charge with the Equal

Employment Opportunity Commission” (the “EEOC”), Fort Bend Cnty. v.

Davis, 587 U.S. 541, 543 (2019); “[h]owever, ‘[p]rerequisites to

suit    like   Title     VII’s   charge-filing     instruction      are   not’

jurisdictional; rather, ‘they are properly ranked among the array

of claim-processing rules that must be timely raised to come into

play,’” Bush v. Frederick Cnty. Pub. Schs., No. 23-1127, 2024 WL

639255, at *2 (4th Cir. Feb. 15, 2024) (quoting Davis, 587 U.S. at



     5 Rather than restricting its argument to the assertion that
Plaintiff’s pleadings did not mention or otherwise evidence the
filing of a charge with the Equal Employment Opportunity Commission
(the “EEOC”), Defendant’s memoranda repeatedly maintain that
“Plaintiff has not filed a charge of discrimination before the
EEOC” (Docket Entry 15 at 2; see also Docket Entry 10 at 5
(“Plaintiff filed her Complaint alleging claims under Title VII and
the ADEA without first raising her claim before the EEOC.”)) and
that, “‘[b]ecause Plaintiff failed to file a charge of
discrimination’ with the EEOC, her Title VII and ADEA claims ‘must
be dismissed with prejudice’” (Docket Entry 10 at 5; accord Docket
Entry 15 at 3). Notably, though, after Defendant filed the Reply,
Plaintiff filed a copy of a Right to Sue letter from the EEOC dated
long before Defendant filed the Dismissal Motion, addressed to
Plaintiff with a “Cc:” to Defendant’s address. (See Docket Entry
16 at 1-5; see also Docket Entry 1 at 2.) Although consideration
of the Dismissal Motion will remain focused on the Complaint as
amended by the Response, see, e.g., E.I. du Pont, 637 F.3d at 448,
this filing calls into serious question the veracity of Defendant’s
assertion that “Plaintiff has not filed a charge of discrimination
before the EEOC” (Docket Entry 15 at 2).       Defendant’s counsel
should take care to ensure the accuracy of representations made to
the Court. See Six v. Generations Fed. Credit Union, 891 F.3d 508,
519 (4th Cir. 2018).

                                     12




  Case 1:23-cv-01102-LCB-LPA     Document 18   Filed 02/18/25   Page 12 of 19
543-44).6    “That is, a defendant must raise this issue as an

affirmative defense.”    Id.   Moreover, “the burden of establishing

the affirmative defense rests on the defendant.”                 Goodman v.

Praxair, Inc., 494 F.3d 458, 464 (4th Cir. 2007) (en banc).

     Importantly, a Rule 12(b)(6) motion “generally cannot reach

the merits of an affirmative defense.”       Id.    Thus,

     a Rule 12(b)(6) motion to dismiss, which addresses the
     sufficiency of the complaint, generally does not enable
     the [C]ourt to determine whether the exhaustion
     requirement has been satisfied or whether it has been
     waived or should be excused, because exhaustion is
     treated as an affirmative defense. When, however, facts
     sufficient to rule on an affirmative defense[,] such as
     exhaustion[,] are alleged in the complaint, the defense
     may be reached by a motion to dismiss filed under Rule
     12(b)(6).    But this principle applies only in the
     relatively rare circumstances when all facts necessary to
     the affirmative defense clearly appear on the face of the
     complaint.     And even to succeed in these rare
     circumstances, the defendant must show that the
     plaintiff’s potential response to the affirmative defense
     was foreclosed by the allegations in the complaint.

L.N.P. v. Kijakazi, 64 F.4th 577, 585-86 (4th Cir. 2023) (brackets,

citations, and internal quotation marks omitted).

     Here,   the   Complaint   and    Response   lack    any     information

regarding whether Plaintiff filed a charge with the EEOC.                (See

Docket Entries 1, 14.)     Accordingly, the Court does not confront

“the relatively rare circumstance[] where . . . . all facts

necessary to the affirmative defense clearly appear on the face of


     6 “Courts in the Fourth Circuit have applied Davis to the
ADEA, which has a similar administrative exhaustion requirement.”
Yang v. Lai, No. 1:22cv5, 2022 WL 2440834, at *3 (M.D.N.C. July 5,
2022).

                                     13




  Case 1:23-cv-01102-LCB-LPA   Document 18   Filed 02/18/25    Page 13 of 19
the complaint,” Goodman, 494 F.3d at 464 (brackets and internal

quotation marks omitted) (emphasis in original), precluding Rule

12(b)(6) relief on this ground, see id. at 466.               The Court should

therefore reject Defendant’s administrative exhaustion argument.

     C. Discrimination Claims

     Defendant also contends that “Plaintiff fails to state . . .

colorable [Title VII and ADEA discrimination] claim[s].”                    (Docket

Entry 10 at 5.)           In particular, Defendant asserts that “the

Complaint is entirely devoid of any allegations of a connection

between   any    alleged    discriminatory       treatment    and     any   alleged

adverse employment action.”             (Id. at 6.)      As discussed above,

Plaintiff responded to this contention by offering additional

factual allegations in support of the challenged claims.                       (See

Docket Entry 14 at 1-7.)          Nevertheless, the Reply maintains that

“[t]he additional factual allegations raised for the first time in

Plaintiff’s Response still do not state a colorable claim under

Title VII or the ADEA.”           (Docket Entry 15 at 2.)           This argument

falls short.

     As an initial matter, Defendant fails to develop its argument

regarding the Response’s purported deficiencies.                   Instead, as the

final paragraph in its “Argument” section, which (i) contains a

singular heading proclaiming that “Plaintiff’s Response to the

[Dismissal      Motion]    does   not   address    her   failure       to   exhaust

administrative remedies” (id. at 1) and (ii) otherwise focuses


                                        14




  Case 1:23-cv-01102-LCB-LPA       Document 18    Filed 02/18/25     Page 14 of 19
exclusively on administrative exhaustion (see id. at 1-2), the

Reply asserts:

          The additional factual allegations raised for the
     first time in Plaintiff’s Response still do not state a
     colorable claim under Title VII or the ADEA. Even if
     they could establish such a claim, which they cannot,
     they are allegations that must be brought before the EEOC
     before Plaintiff may file suit in federal court. Walton
     v. Harker, 33 F.4th 165, 172 (4th Cir. 2022) (“It is well
     settled that before filing suit under Title VII or the
     ADEA, a plaintiff must exhaust her administrative
     remedies by bringing a charge with the EEOC.” (citing 42
     U.S.C. § 2000e-5(b), (f); 29 U.S.C. § 633a(d))).

(Docket Entry 15 at 2.)

     “It is not the Court’s job to undertake the analysis and legal

research needed to support a perfunctory argument, nor should a

party expect [the C]ourt to do the work that [the party] elected

not to do.”   Hill v. Carvana, LLC, No. 1:22cv37, 2022 WL 1625020,

at *5 (M.D.N.C. May 23, 2022) (citation and internal quotation

marks omitted).      The   failure   to   develop   this      argument   alone

justifies its denial. See, e.g., Sanders v. Colvin, No. 1:14cv163,

2015 WL 471588, at *8 (M.D.N.C. Feb. 4, 2015) (observing that,

because party failed to develop argument, “[t]he Court could deny

relief on that ground alone,” and collecting cases), report and

recommendation adopted, No. 1:14cv163, 2015 WL 12564213 (M.D.N.C.

Mar. 6, 2015); see also Grayson O Co. v. Agadir Int’l LLC, 856 F.3d

307, 316 (4th Cir. 2017) (“A party waives an argument . . . by

failing to develop its argument — even if its brief takes a passing




                                     15




  Case 1:23-cv-01102-LCB-LPA   Document 18   Filed 02/18/25    Page 15 of 19
shot   at    the    issue.”     (brackets       and    internal    quotation     marks

omitted)).

       In any event, construed liberally in light of Plaintiff’s pro

se status, see Erickson, 551 U.S. at 94, and with all reasonable

inferences drawn in her favor, see E.I. du Pont, 637 F.3d at 440,

the Complaint as deemed amended by the Response plausibly alleges

Title VII and ADEA discrimination claims. The Complaint identifies

Plaintiff as a “Black” woman aged “54” who worked “as a Student

Success     Coach    and    Testing    Coordinator”        for   Defendant     between

September     2022    and     June    2023,     when   “[her]     contract    was   not

renewed.”     (Docket Entry 1 at 6.)             According to the Response, her

role at Ignite Online Academy allowed Plaintiff, “an expert on the

digital divide and online learning,” “to work remotely” until “the

prejudicial        behavior    of    her   principal      Mrs.    Crystal    Medlin[]

interfered with [Plaintiff’s] work and ultimately led to her

dismissal.”        (Docket Entry 14 at 3.)          As examples of this conduct,

the Response asserts that, on multiple occasions, Plaintiff’s

“actions were reprimanded,” but “her Caucasian colleagues’ same

actions were allowed and praised,” including specifically on the

use of “surveys to receive feedback.”                  (Id. at 4.)      The Response

further asserts that, in the middle of Plaintiff’s presentation at

a faculty learning community meeting, Mrs. Medlin “told [Plaintiff]

that [Mrs. Medlin] would not be using [Plaintiff’s] data, would be

taking over the meeting, and would be using the data of the


                                           16




  Case 1:23-cv-01102-LCB-LPA          Document 18      Filed 02/18/25   Page 16 of 19
Caucasian     counterpart         instead,”       even    though        “the    data     was

practically identical except for a different color scheme change

for organization and updates.”               (Id. at 4-5; see also id. at 5

(“Mrs. Medlin       said     in   front    of   the      group   that     [Plaintiff’s]

presentation     was       ‘colorful’       but     the     Caucasian          colleague’s

information was the one that she would use as correct.”).)

     Moreover, per the Response, Mrs. Medlin (i) praised the work

of one of Plaintiff’s “Caucasian colleagues” who “assist[ed] with

testing when [Plaintiff] had to be away on an occasion” and

(ii) “stated that the colleague had just had a baby and insinuated

that [Plaintiff’s] position would be good for [the colleague] to

work from home in the presence of [Plaintiff].”                     (Id. at 5.)          The

Response maintains that, as Plaintiff “is not of the traditional

child-bearing age, . . . Mrs. Medlin valued the colleague’s age and

childcare     needs    more       than     [Plaintiff’s]         need     to    have    the

flexibility    to     take    care    of    [her]     elderly     parents.”            (Id.)

Additionally, according to the Response, Mrs. Medlin “presented

information to Human Resources to support her efforts to remove

[Plaintiff] from her job,” an action “in congruence with what is

believed to be Mrs. Medlin’s overall desire to replace [Plaintiff]

with [that] Caucasian, female colleague.”                   (Id. at 3.)

     “These allegations plausibly allege that Plaintiff’s race and

[age] directly resulted in her being treated differently from other

employees and that she was specifically targeted for adverse


                                           17




  Case 1:23-cv-01102-LCB-LPA         Document 18      Filed 02/18/25      Page 17 of 19
treatment because of these characteristics, resulting eventually in

her termination . . . .”           Kortor, 2024 WL 4367185, at *4; see

also Rageh, 2024 WL 5056448, at *3 (concluding that the plaintiff

“alleged sufficient facts to state an ADEA discrimination claim

based on denial of training opportunities,” where “[h]e alleges

that he was over 40 years old during his fellowship, and that Dr.

Zhang, who supervised [the plaintiff] on behalf of [the defendant],

provided   him     with   fewer   training      opportunities      than   younger

residents, eventually refusing to train him,” after “express[ing]

concerns about [the plaintiff’s] age before his fellowship even

started” (citations omitted)).        Accordingly, Plaintiff’s Title VII

and ADEA discrimination claims survive Defendant’s Rule 12(b)(6)

challenge.   The Court should therefore deny the Dismissal Motion.

See, e.g., Holloway, 32 F.4th at 299 (vacating Rule 12(b)(6)

dismissal of unlawful termination claim, “find[ing] the[ alleged]

facts sufficient to raise the inference of a Title VII violation

above a speculative level,” even though “[the] complaint [wa]s thin

on facts (as opposed to conclusions) suggesting racial motivation,”

as “[its] pretext allegations . . . support[ed] an inference of

race discrimination” (internal quotation marks omitted)).

                                  CONCLUSION

     Given   the    timing   of   Plaintiff’s      assertion       of   additional

factual allegations and her pro se status, the Court will deem her

pleadings amended.         Given that amendment, Plaintiff plausibly


                                      18




  Case 1:23-cv-01102-LCB-LPA      Document 18     Filed 02/18/25   Page 18 of 19
alleges Title VII and ADEA claims for race and age discrimination.

Additionally, Defendant’s administrative exhaustion argument fails

at this stage of the proceedings.

     IT IS THEREFORE ORDERED that the Complaint (Docket Entry 1) is

DEEMED AMENDED to include the factual allegations in the Response

(Docket Entry 14).

     IT IS RECOMMENDED that the Court deny the Dismissal Motion

(Docket Entry 9).

     This 18th day of February, 2025.

                                         /s/ L. Patrick Auld
                                            L. Patrick Auld
                                     United States Magistrate Judge




                                   19




  Case 1:23-cv-01102-LCB-LPA   Document 18   Filed 02/18/25   Page 19 of 19
